     Case 1:14-bk-15182-GM       Doc 317 Filed 05/05/21 Entered 05/05/21 16:11:56              Desc
                                   Main Document Page 1 of 2



1
2
                                                                    FILED & ENTERED
3
4                                                                         MAY 05 2021
5
                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
6                                                                    BY egonzale DEPUTY CLERK


7
8
                             UNITED STATES BANKRUPTCY COURT
9
                              CENTRAL DISTRICT OF CALIFORNIA
10
                               SAN FERNANDO VALLEY DIVISION
11
12
13   In re:                                         Case No.: 1:14-bk-15182-GM
14   Mark Alan Shoemaker                            CHAPTER 7
15                                                  TENTATIVE RULING ON OBJECTION TO
                                                    CLAIM #6 OF DAVID CARRANZA
16
17                                                  Date:      May 4, 2021
                                                    Time:      10:00 AM
18                                    Debtor(s).    Courtroom: 303

19
20            The claim is for $7,600. There is a check from Brenda Jeanette Carranza to
21   Shoemaker’s Law Office for $1,000. There are checks for an additional $6,600 made
22   out to Advocate For Fair Lending, but given to Shoemaker. Mr. Carranza says that he
23   received a small claims judgment, but does not attach that or the agreement with Mr.
24   Shoemaker.
25
     ///
26
     ///
27
28   ///




                                                   -1-
     Case 1:14-bk-15182-GM      Doc 317 Filed 05/05/21 Entered 05/05/21 16:11:56         Desc
                                  Main Document Page 2 of 2



1           Mr. Shoemaker attaches a list of payments to his former clients by the California
2    Bar Client Security Fund that shows that Mr. Carranza received $7,600 for case 11-F-
3    12095 on June 14, 2013. So this claim has been paid in full.
4
            SUSTAIN THE OBJECTION.
5
     ###
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
           Date: May 5, 2021
25
26
27
28




                                                -2-
